Case:20-16813-JGR Doc#:198 Filed:07/20/21 Entered:07/20/21 15:10:00 Pagei of 26

Fillin this information to identify the case:

Debtor Name Chee Wei Fong

United States Bankruptcy Court for the: District of Colorado

20-16813J (] Check if this is an
Cone number StS/GRCHt amended filing

 

 

 

 

Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11 127

Month: Jun 2021 . 7 / 102}
ont Date report filed: g Z Zo l

Line of business: NAISC code:

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: CHEE WEI FONG

Original signature of responsible party Br Shefre-

Printed name of responsible party “CHEE WEL FOKG

= 1. Questionnaire

Answar all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

 

 

Yes No NIA
if you answer Wo to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire reporting period? Q QO wl
2. Oc you plan to continue to operate the business next month? Q QO wi
3. Have you paid all of your bills an time? 4 a Qa
4. id you pay your employees on time? QO Q Ww
5. Have you deposited all the receipts for your business into debtor in possession (DIP} accounts? | QO Q)
6. Have you timely filed your tax retums and paid all of your taxes? Oo Qa
7. Have you timely filed all other required government filings? QO Q)
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? Gd Q Q
9. Have you timely paid all of your insurance premiums? wi O Q
if you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
10. Do you have any bank accounts open other than the DIP accounts? 4a a
11. Have you sold any assets other than inventory? | Q
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? QO wi )
13. Did any insurance company cancel your policy? Q W oO
14. Did you have any unusual! or significant unanticipated expenses? O wi QO
15. Have you borrowed money from anyone or has anyone made any payments on your behalf? QO wi OQ
O0U€WréCOC

16. Has anyone made an investment in your business?

:

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11
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Debtor Name Chee Wei Fong Case number 20-16813JGR-CH11

17. Have you paid any bills you owed before you filed bankruptcy?

6 &

Oo
OO

18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

 

| B Summary of Cash Activity for All Accounts

19. Total opening balance of all accounts
§ 33,076.24

This amount must equal what you reported as the cash on hand at the end of the month in the previous
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. $__ 7,289.08

21. Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements

in lieu of Exhibit D. = 10,716.65
Report the total from Exhibit D here.

22. Net cash flow
-3,427.57

Subtract line 21 from line 20 and report the result here. +$§
This amount may be different from what you may have calculated as net profit.

23. Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
. . = $ 21,971.07
Report this figure as the cash on hand at the beginning of the month on your next operating report. oo

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

| | 3. Unpaid Bills

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here. ,

 

 

24, Total payables $_ 9,102.57

(Professional Fees owed fo counsel for debtor

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 2
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Debtor Name Chee Wei Fong Case number 20-16813JGR-CH11

me: Money Owed to You

 

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

Exhibit F here.
25. Total receivables $ 0.00
(Exhibit F)

 

 

| | 5. Employees

26. What was the number of employees when the case was filed?

27. What is the number of employees as of the date of this monthly report?

 

 

| Professional Fees |
13,816.86

28. How much have you paid this month in professional fees related to this bankruptcy case? $

29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ __ 59,194.81

30. How much have you paid this month in other professional fees? $ ___9.00

 

 

 

 

 

31. How much have you paid in total other professional fees since filing the case? ¢___ 3,000.00
|| 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Column B_- Column €
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month’s this report. from Column A.
report.
32. Cash receipts $ 6,881.00 — ¢ 7,289.08 = $ -408.08
33. Cash disbursements ¢ 5,824.00 — g¢ 10,716.65 = ¢ 4,892.65
34. Net cash flow |g 1,057.00 '—\ ¢ -342757 (=! § 2370.57
i (VL
35. Total projected cash receipts for the next month: $__6,881.00
36. Total projected cash disbursements for the next month: = 5,824.00
37. Total projected net cash flow for the next month: ; = 1,057.00

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 3
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Debtor Name Chee Wei Fong Case number 20-16813JGR-CH11

GE 2. dditionar Information

 

If available, check the box to the left and attach copies of the following documents.

WJ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
{J 39. Bank reconciliation reports for each account.

(J 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

(C} 41. Budget, projection, or forecast reports.

CJ 42. Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
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Wells Fargo’ Preferred Checking

June 30,2021 m Page 1 of6

CHEE WE! FONG
DEBTOR IN POSSESSION
CH11 CASE #20-16813 (CO)
3751 W 136TH AVE UNIT S2
BROOMFIELD CO 80023-8149

 

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Questions?

Available by phone 24 hours a day, 7 days a week:
We accept all relay calls, including 711

1-800-TO-WELLS (1-800-869-3557)
En espafiol: 1-877-727-2932

Online: wellsfargo.com

Write: Wells Fargo Bank, N.A. (163)
P.O. Box 6995
Portland, OR 97228-6995

 

You and Wells Fargo

Thank you for being a loyal Wells Fargo customer. We value your trust in our
company and look forward to continuing to serve you with your financial needs.

Account options

A check mark in the box indicates you have these
convenient services with your accaunt(s). Go to
weillsfargo.com or call the number above if you have
questions or if you would like to add new services.

Online Banking Direct Deposit
Online Bill Pay L] Auto Transter/Payment [7]
Online Statements Overdraft Protection E]
Mobile Banking [-] Debit card

My Spending Report Overdraft Service

IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephoneAelecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisied calis, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of

hearing customers and customers with speech disorders.

 

Statement period activity summary

 

Beginning balance on 6/1 $23,504.54
Deposits/Additions 7,289.08
Withdrawals/Subtractions ~ 10,716.65
Ending balance on 6/30 $20,076.97

(163)

Account number. 2gRaBOQE48

CHEE WEI FONG
DEBTOR IN POSSESSION
CH11 CASE #20-16813 (CO)

Colorado aécount terms and conditions apply

For Direct Depasit use
Routing Number (RTN): 102000076
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Overdraft Protection

This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements

please cail the number listed on your statement or visit your Wells Fargo branch.

 

Interest summary
Interest paid this statement $0.18
Average collected balance $21,432.27
Annual percentage yield earned 0.01%
Interest earned this statement period $0.18
Interest paid this year $1.34

 

Transaction history

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
6/1 Purchase authorized on 05/28 Flatirons Subaru Boulder CO 17.34
$58 1148523148418 Card 3990
6/1 Purchase authorized on 05/29 Tst* Cocina and CA Loveland CO 24.00
$301149469722842 Card 3990
6H Purchase authorized on 05/29 Chick-Fil-A #03634 Westminster 15.73
CO $581150061826165 Card 3990
6/1 Purchase authorized on 05/30 Five Guys CO 1591 Broomfield CO 21.87
$58 1150847005800 Card 3990
6/1 Purchase authorized on 05/31 King Soopers #01 2355 W. 7.28
Broomfield CO P00581151796978351 Card 3990
6/1 Purchase authorized on 06/01 Wal-Mart Super Center Loveland 12.30
CO P00000000875033013 Card 3990
6/1 Purchase authorized on 06/01 Sams Club Sam's Club Loveland 15.33 23,390.69
-_ CO P00000000172379807 Card 3990
6/2 Purchase authorized on 06/01 Popeyes 12756 / 42 Longmont CO 21.69
$461 152771368430 Card 3990
6/2 . Purchase authorized on 06/01 King Soopers #01 2355 W. 13.87
Broomfield CO P00381153043394713 Card 3990
6/2 ADT Security Ser Adtpapach »000x0151 Fong, Chee Wei 63.04 23,292.09
6/3 Bill Pay Quicken Loans Recurring xxxxx37134 on 06-03 1,786.45 21,505.64
6/4 My Deals Cash Back for Popeye's Chicken 2.17 21,507.81
6/7 Purchase authorized on 06/04 Firehouse Subs 128 Loveland CO 9.00
$381155810679254 Card 3990
6/7 Purchase authorized on 06/05 Cracker Barrel # 5800 McW 17.91
Loveland CO P00301156488094178 Card 3990
6/7 Purchase authorized on 06/05 Chick-Fi-A #03634 Westminster 9.87
CO $581157055340137 Card 3990
6/7 Purchase authorized on 06/06 King Soopers #07 2395 W. 41.09
Broomfield CO P00381 157446908812 Card 3990
6/7 Purchase authorized on 06/06 Wal-Mart Super Center Loveland 4.59
CO Pa0000000082150736 Card 3990
6/7 American Family Aft 210606 B00000211571Dia Chee W Fong 133.66 21,291.69
6/8 Front Range Gun Payroll 210608 P5427280 Chee Wei Fong 381.27
6/8 Purchase authorized on 06/06 Five Guys CO 1591 Broomfield CO 23.87
‘ $461157850049805 Card 3990
6/8 Bill Pay Premier Members Credit Union Recurring 750.00
XOCOKXKXKXK3H353 on 06-08
6/8 Lake Front Hoa Dues 210607 »oox0320 Chee Wei Fong 295.00 20,604.09
6/9 Purchase authorized on 06/04 Amzn Mktp US*2x6Sn 31.341
Amzn.Com/Bill WA $581155749299471 Card 3990
6/9 Purchase authorized on 06/07 Chick-Fil-A #01888 Loveland CO 12.87

$581158457905026 Card 3990

 
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FARGO
Transaction history (continued)
Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
6/9 Purchase authorized on 06/09 WM Superc Wal-Mart Sup 31.66 20,528.25
Loveland CO P00000000276772089 Card 3990
6/10 Purchase authorized on 06/09 King Soopers #07 2395 W. 51.12 20,477.13
Broomfield CO P00461161090783517 Card 3990
6/11 Collabera Inc Direct Dep 210611 9351181 70942Xel Fong,Chee 3,108.97 23,586.10
Wei _
6/14 Purchase authorized on 06/11 Firehouse Subs 128 Loveland CO 15.89
338 1162825355560 Card 3990
6/14 Purchase authorized on 06/12 Chick-Fil-A #03634 Westminster 6.61
CO $301 164066855233 Card 3990
6/14 Purchase authorized on 06/13 Front Range Gun Ci Loveland CO 61.14 23,502.46
$301164581781115 Card 3990
6/15 Purchase authorized on 06/13 Tst* McGraff S Loveland CO 26.98 23,475.48
$301165000990554 Card 3990 .
6/16 Purchase authorized on 06/11 NBW*"New Balance 800-595-9138 95.79
MO $301162712787110 Card 3990
‘6/16 Purchase authorized on 06/16 King Soopers #06 1120 US 39.89
Broomfield CO P00461167524038578 Card 3990
6/16 Purchase authorized on 06/16 Safeway #2624 Broomfield CO 14.04
‘-P00581 167614072977 Card 3990
6/16 Purchase authorized on 06/16 King Soop 2355 W. 136T 32.31 23,293.45
Broomfield CO P00000000635607235 Card 3990
6/17 Purchase authorized on 06/15 Firehouse Subs 128 Loveland CO 12.00
$38 1166815444368 Card 3990
6/17 Purchase authorized on 06/16 Simply Beauty Hair Broomfield CO 44.84
$581 167666497086 Card 3990
6/17 Purchase authorized on 06/17 Batteries+Bulbs #0433 Loveland 64.88
CO P00381 168618306791 Card 3990
67 Purchase authorized on 06/17 Sams Club Sam's Club Loveland 75.58
CO P00000000670654686 Card 3990
617 Xcel Energy-PSCO Xcelenergy 00087262622 Well Fargo Personal 55.65 23,040.50
6/18 Purchase authorized on 06/16 Eyeworks / Dr. C. Louisville CO 3.26
$381167595527124 Card 3990
6/18 Purchase authorized on 06/16 Tst* The Huckleber Louisville CO 8.63
$301167597195863 Card 3990
6/18 Purchase authorized on 06/18 King Soopers #07 2395 W. 52.34 22,976.27
Broomfield CO P00381 169429963093 Card 3990
6/21 Purchase authorized on 06/19 Chick-Fil-A #03634 Westminster 11.38
CO $301171071008100 Card 3990
6/21 Purchase authorized on 06/20 Cracker Barrel # 5800 McW 26.84
Loveland CO P00461171495479324 Card 3990
6/21 Purchase authorized on 06/20 WM Superc Wal-Mart Sup 37.85
Loveland CO P00000000270639659 Card 3990
6/21 Purchase authorized on 06/21 King Soopers #07 2395 W. 36.38
Broomfield GO P00301172765652195 Card 3990
6/21 Purchase authorized on 06/21 King Soop 2355 W. 136T 19.28
Broomfield CO P00000000439632443 Card 3990
6/21 Comcast 8497101 »00x4202 210618 3802703 Chee Wei *Fong 92.22 22,752.32
6/22 Front Range Gun Payroll 210622 P5559967 Chee Wei Fong 381.28
6/22 ATT Payment 062021 060663011Epaya Chee Wei Fong 62.63
6/22 109 Check 6,139.26 16,931.71
6/23 Purchase authorized on 06/21 Raising Cane's #35 Broomfield CO 13.48
$381172673512207 Card 3990
6/23 Recurring Payment authorized on 06/22 U.S. Lawshield 13.90
WW. Usiawshie TX S581173545619945 Card 3990
6/23 Purchase authorized on 06/23 King Soap 253 E. 29th Loveland 24,33 16,880.00
CO P0000000088 1207054 Card 3990
6/24 Purchase authorized on 06/22 Chick-Fil-A #01888 Loveland CO 11.15 16,868.85
$461173768212545 Card 3990
6/25 Collabera Inc Direct Dep 210625 275082520427Xel Fong,Chee 3,415.21

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FARGO
Transaction history (continued)
Check Depesits/ Withdrawais/ Ending daily
Date Number Description Additions Subtractions balance
6/25 Purchase authorized on 06/24 Hca Local Hospital 615-344-2404 35.00
TN $581175460862172 Card 3990
6/25 Purchase authorized on 06/24 Benedicts Restaura 720-5299797 42.42
CO $301175522434026 Card 3990
6/25 Purchase authorized on 06/25 Murphy Express Longmont CO 20.75 20,185.89
P00000000874839964 Card 3990
6/28 Purchase authorized on 06/26 Chick-Fil-A #03634 Westminster 16.26 20,169.63
CO $461178060135221 Card 3990
6/29 Purchase authorized on 06/27 Tst* The Great Gre Westminster 22.12
CO $581178862086783 Card 3990
6/29 Purchase authorized on 06/29 Sam's Club Loveland CO 28.18 20,119.33
P00000000083555620 Card 3990
6/30 Purchase authorized on 06/30 Wal-Mart Super Center Loveland 15.88
CO P00000000231 190091 Card 3990
6/30 Purchase authorized on 06/30 Batteries+Bulbs #0433 Loveland 26.66
CO P00301181591862551 Card 3990
6/30 Interest Payment 0.18 20,076.97
Ending balance on 6/30 20,076.97
$7,289.08 $10,716.65

Totals

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. [f you had insufficient available funds when a transaction posted, fees may have been assessed.

Summary of checks written (checks listed are also displayed in the preceding Transaction history)

Number Date Amount
109 6/22 6,139.26

Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a

link to these documents, and answers to common monthly service fee questions.

Fee period 06/01/2021 - 06/30/2021 Standard monihly service fee $15.00

How to avoid the monthly service fee
Have any ONE of the following account requirements
Total amount of qualifying direct deposits
- Alinked Wells Fargo home mortgage
* Combined balance in linked accounts, which may include
- Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
FDIC-insured Retirement accounts
JDAD

IMPORTANT ACCOUNT INFORMATION

Minimum required
$1,000.00

$10,000.00

You paid $0.00

This fee period

Effective September 1, 2021, the non-Wells Fargo ATM balance inquiry fee will increase from $2.00 to $2.50, and the non-Wells Fargo
ATM transfer fee will increase from $2.00 to $2.50. To avoid these fees, monitor your balances and transfer money by accessing Wells
Fargo ATMs, calling the number on the back of your card, and using Wells Fargo Online” or the Wells Fargo Mobile® app. Availability
may be affected by your mobile carrier's coverage area. Your mobile carrier's message and data rates may apply. These fees may not be

$7,286.73 (¥]
00
$16,868.85 [¥]
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June 30,2021 « Page 5of6 WELLS
FARGO

 

applicable io all customers and may vary depending on the type of Account you have. For more details, refer to the applicable Wells
Fargo Fee and Information Schedule for your Account.

Effective May 28, 2021, the document copy fee was eliminated and there is no longer a charge for this service. Thank you for banking
with Wells Fargo. We appreciate your business.

Can we reach you when it's really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:

- Signing on to wellsfargo.com or the Wells Fargo Mobile® app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement

- Visiting a branch
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WELLS
FARGO

 

Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period.
[A] Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear on
this statement. Enter the total in the column

to the right.

       

Description Amount

   

Total | $

    

Add [A] and [B] to calculate the subtotal.

[D] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total in the column
to the right.

Number/Description Amount

Tota!

[E] Subtract [p) from [¢]to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your

register.

 

$

 

General statement policies for Wells Fargo Bank

m To dispute or report inaccuracies in information we have furnished to a

Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of information that Wells Fargo Bank, N.A. has
furnished to a consumer reporting agency by writing to us at Overdraft
Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
describe the specific information that is inaccurate or in dispute and the

basis for the dispute along with supporting documentation. if you believe

the information furnished is the result of identity theft, please provide us

with an identity theft report.

In case of errors or questions about your electronic transfers,

telephone us at the number printed on the front of this statement or write

us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear

from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

1. Tell us your name and account number (if any).

2. Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
information.

3. Tefl us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If
we take more than 10 business days to do this, we will credit your account
for the amount you think is in error, so that you will have the use of the
money during the time it takes us to complete our investigation.

©2010 Welts Fargo Bank, N.A. All rights reserved NMLSR ID 399801 Member FDIC. fNaea
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Page 1 of 1
Longmont - Main St
2142 N. Main Street
303-657-7000
(MINI-STATEMENT)
CHEE WEI FONG
3751 W 136TH AVE ACCOUNT: XXXXXXX353 PERIOD: 06/01/21 TO 07/02/21
BROOMFIELD CO 80020
PRIMARY SHARE SAVINGS ID:0091
EFFECT POST TRANSACTION DESCRIPTION AMOUNT NEW BALANCE
06/01/21 ID 0001 - Primary Share Savings Balance Forward 3.01
07/02/21 Ending Balance 5.01
1/0 HELOC (5/14) ID:0060
5 ‘NEW
EFFECT POST TRANSACTION DESCRIPTION AMOUNT BALANCE
06/01/21 ID 0060 - /O Heloe (5/14) Balance Forward 97,625.49
PAYMENT - THANK YOU ACH PREMIER MEMBERS CO:

06/09/21 06/09/21 PREMIER MEMBERS 750.00 97,186.83

Finance Charge: $311.34 Fees: $0.00
07/02/21 Ending Balance 97,186.83

 

 

 

 

file:///C:/ProocramData/Jack%20Henrv%2Nand?0 A ssnciated/EnievOAINRar2Windaure!

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Cracker Barrel
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Food and House Keeping
Food and House Keeping
Auto Fuel

Clothing

Home Electricity and Gas
Food and House Keeping
Personal Care

Home Repairs

Personal Care

Food and House Keeping
Medical/Eyes/Dental Expenses
Auto Fuel

Food and House Keeping
Food and House Keeping
Food and House Keeping
Food and House Keeping
Auto Fuel

Food and House Keeping
Home Telecommunication
Home Telecommunication
Legal - Attorney Fees
Food and House Keeping
Legal - US Law Shield

Food and House Keeping
Food and House Keeping
Auto Fuel

Food and House Keeping
Medical/Eyes/Dental Expenses
Food and House Keeping
Food and House Keeping

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Report: Exhibit C Income June 2021 Wells DIP

Date Account

 

 

 

 

 

 

Payee Amount

INCOME $8,824.75
Income - Artech . $5,969.88
6/8/21 Wells Fargo Checking ARTECH LLC DIR DEP 2106... $3,131.72

6/22/21 Wells Fargo Checking ARTECH LLC DIR DEP 2106... $2,838.16

Income - Gunsmoke $762.55
6/8/21 Wells Fargo Checking Front Range Gun PAYROLL 2... $381.27

6/22/21 Wells Fargo Checking Front Range Gun PAYROLL 2... $381.28

Income - Pension $1,092.32
6/1/21 Wells Fargo Checking FIDELITY INVESTM FIDELITY... $1,092.32

Income - Spouse $1,000.00
6/2/21 Wells Fargo Checking Karen Weingarten Ib _ $1,000.00

TOTAL $8,824.75

Exhliit C Income June 2021 Wells DIP printed from Wells Fargo Personal on 7/2/21

6/1/2021 - 6/30/2021
1 Account, 9 Categories

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